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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

_________________________________
                                 :
UNITED STATES OF AMERICA,
                                 :
           Plaintiff,
                                 :             1:21-mj-00434
     v.
                                 :
JAMES BREHENY,
                                 :
           Defendant.
________________________________ :

                                       ORDER

      Upon consideration of Defendant’s Motion for Admission Pro Hac Vice of

Harley D. Breite, it is hereby ORDERED that the Motion is GRANTED. Harley D.

Breite is admitted pro hac vice and may appear on behalf of Defendant Shawn

Price in the above-captioned matter.

          January
Dated:_______________, 2022
                                 G. Michael Digitally signed by G.
                                             Michael Harvey

                                 Harvey      Date: 2022.01.17
                                 _______________________
                                             16:56:10 -05'00'
                                 G. MICHAEL HARVEY
                                 U.S. MAGISTRATE JUDGE
